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                PSJ1 Exh 25
                                                                                       P-HBC-00037
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           Sent:            Sat, 9 Jul 2016 16:46:00 -0400




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                                                                                                                        P-HBC-00037.001
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           From:                    Roahrig, Todd
           Sent:                    Thu, 18 Jun 2015 17:28 :18 -0400
           To:                      Collins, Candis;lnks, Veronica;Peters, Casey;Leatherman, Julie;Allen,
           Julie;Bartolowits, Jason;Bui, Tam;Cawley, Lisa;Cutlip, Elizabeth;Elek-Mayer, Cynthia;Steely,
           Cynthia;Johnson, Erica;Lohr, Emily;Posteraro, Lauren;Loritz, Christina;McWilliams, Jacey;Burke,
           Courtney;Pichler, Douglas;Webster, Crystal;Kraynik, Crystal;Wilson, Renea
           Cc:                      Roahrig, Todd;Bernthaler, Jaime;Boyle, Holly
           Subject:                 EVALS - floaters
           Attachments:             CIA_Pll VOCScorecard_06082015_v04.pdf, Amber Vial By Store 2014-2015 .xls,
           Retail Rx Performance Rating Guidelines_vl.doc, template_pagebreakl.xls, IA Retail audits FY14_15 .xlsx,
           RXDBLPBYLEADDT2015-05-30 .xls, Pharmacy Customer Service Scorecard 6.6.15.xlsx



           FLOATERS - please use the guidelines attached for accurate ratings on evals




           DART ··· no w/cornp incidents in our region ·· rating is 5 !
           QUALITY - use your own quality, did you have a med se!ect or pos or missing dur aHergv, more than last
           year or less, ,~tc... attended 4 cqis ...
           DAP ···· repeat from lcist year, must be actively upd ;:,ted during year, under· Development in yow Talent
           Developrnent
           TMPOV - use p099 or pEl9 resu !ts; p099 we nt up 1, from 25 to :?6%, but company overall declined l -
           rating 3
           VOC ··· region retail index was a 77 on goal of 76, negative calls decreased, but not hitting response rates
           on sui·vey - rating 3
           COMPU.ANCE - not a!i As on audits in all stores, you impact t his by ensu ri ng Breaks are ta ken, old rx
           bags pu lled, tern p logs done, etc ... -· rn ti ng 3
                                                                                                n
                      ! w il! revi ew your CST completions as welt th is could take you to a 2 or
           PRO Frr - see att;Jched Df:\ IY sheet fm my region; Miss by 7. :? rniHion - rating/, put in actu als from right
           YTD si de
           SALE§··· se e at tached, m ade budget by 6.5million (about 3%) ··· rat ing 3, put in actuals
           VOLUME- down 3.4 (s heet doesn•'t show negative but nurr1 bers do) ,\/11SSED - rat ing:!, put in actuals
           from 6/6 attached
           SHRINK ... amber vial ret urn s not improved overall ... rating 2, are you helping to ensu re t hese vials are
           used up fast, etc
           LABOR - missing labor dollars by ~, 10Gk t o budget, see attached under dept w;Jge costs ytd - ra t ing 2,
           put in actuals
                      If we are filling less scripts, vve need to be using less hours ...

           YOU SHOULD HAVE EVERYTHING TO FINISH YOUR EVAL, LET ME KNOW IF NOW - PLEASE DO SO ASAP
           -THANKS!

           REMINDER ON SKILLS/LEADERSHIP sections - THESE ARE NOT ALL 5s or 4s .. please read discriptions, I
           should see 2s,3s,4s ... etc ...




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                                                                                                                            P-HBC-00037.001
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           From: Roahrig, Todd
           Sent: Monday, June 15, 2015 12 :07 PM
           To: GRP_RX_Roahrig
           Cc: Roahrig, Todd
           Subject: EVALS




           Rating Guidelines are attached -this is NEW this year! You must use this to provide an accurate
           rating for yourself and your Team. It spells out what rating to give based on how the goal is met or
           not. Pages 1-5 is for RPhs, pages 6-10 is for techs/interns

           YES YOU CAN GET .4 5 as wen as 1 ar:d 2s •· ;:>lease follow the guide lines··· print and revie\,v with ail

           GO/U.S - be sure you insert your own stores budget or goal in the "what actually happened" box,
           which is above the rating box, feel free to in correct spaces

           ALL PHARMACISTS

           1 - DART··· This is w/comp or injuries in your department by TMs over· the past year (dc,ys awc,y
           restricted ti,ne). /\sk store leader

           2 •· QUALITY~ Sorne quality information wii! be ,;ent sep;,1ratE:!y to stores this week, rnost locations had <I
           policy violation incident of some sort, you !ikely are aware whether or not your dept quality has been
           bettei- or worse than LY, etc...

           3 •· DAP ··· Development actio n p!an - as before, al! R;:>f-ls must have an "active Di\P" on thei r ta lent
           developrnent page under " developme nt '', active means updating, adjusting, and reviewing during the
           year ! YOU drive t his one, if you want feedback or to discuss, let me know

           4 - TMPOV --· see previous email sent to see scores and li nk here ... click on 'retail repo rts' on left and
           fi nd your· store
                                        Ti'v1_POV_Acti o n _pla_nn i_ng_Share ~' oi nt_ site


           5 ·-· SERVICE --- see Reta il Index and VOC on attachment (sent out pr ior too), see last seve ral pages fo r
           your store YTD and goal: 80() cal l info is on the scorec;mJ on fa r, right

           6 --· COMPUANCE --- \Athat was yo ur interna l audit"? Are your o.vn and your tearns CBTs completed and
           upto da t e? Do vou revievv on I.RC, learn ing reso urce center; Internal audits attached if you had one t his
           year

           7 --- PROFIT--· Corp stores get from your store leade r, you need your LOB (line of business) detail for 081.P
           (dire ct business line profitability),. independents use Store Ope rating Profit off vour Pnl.- Most stores
           w ill miss this, and not being more profitable than la:::t year; ··· you wiil need you r business unit which is
           in the corner of your Pnl..---th is link is ONLY for Corporate locations, as !ndependents can use their own,
           full PnL."




HIGHLY CONFIDENTIAL                                                                                                        GE_TL00011880
                                                                                                                                                P-HBC-00037.001
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                   http ://gE~on Ii ne/gE,on Iin 1"./ rqiort:;/fllE,lre ports ,as_px ?d iric•ctorv=n:'.ports/Corporat;.;, .. 51:on,s/LO ::-s... D.
           etail/LOBDT PL by Store

           8 -SALES- see your Pnl.. (get from store le~;;der, independ ent s vvould have Pn l.. ernaiied as usual) Use
           Period 11 \f'kiy), YTD vs Budget dol !ars ··· fv1ost stores wil ! hit s<lles
           9 ·-SCRIPTS ... nm date range report from pharrnacy soiutions, current YTD to budget scripts {also
           att ached to 6j6 for yea,·) - Most stores w il! miss scripts
           1D - SHRINK - see att,1ched, srnt out prior too, need t o see an IMPROVEMENT in amber v ial shrink to
           l;,,i;t ye;; ir LY (we ,HE: only us ing first :-s qtr:s of 2014 to compare to first 3 qu ar ter:; of 201S since 4 th q tr
           resu !ts are not yet available)
           11 ···LABOR ... see PnL, use totai Payroll or Sa lary/Wages line, not total wages v11hich includes training,
           etc. .. in do li;,a-s to budget, look1

           TECHS/INTERNS - almost al! are same goals above except


           3 -Ta!!,nt Dev,i!opment - NO DAP requin!d, but di(; they vi,!W ev;,,I (;tning yVi1r. ;,:nd have a mid year
           meeting with leader etc..
           6 ... self explained
           7 - sElf expl ain ed




           The Annual Performance Review connects goals, performance, merit and development. The first step is
           the Team Member Self Review, where individuals evaluate their own performance and demonstration
           of leadership skills. This step begins $~mday . } ,rnii :H"



           Step 1: Go to the Talent Development Home Page and access your FY15 Annual Performance Review
           from your To Do list or from your          Performance In box. Review the following documents, where available,
           to support your review and ratings:
          o Mid-year Feedback
          o Comp leted.360° _Feed_b::1ck_re,ult,Jonly f or.defined.role,;)
          o Retail Rating Guidelines
          o Other reports/retail metrics (a link to retail metrics will be available June 16 on Talent Development)




HIGHLY CONFIDENTIAL                                                                                                                            GE_TL00011881
                                                                                                                   P-HBC-00037.001
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           Step 2: Rate yourself and provide comments on your Operating Results goals and Leadership Skills for
           Success. Your Self Review should be based on actual results through Period 11. Managers will have
           access to year-end results for their Manager Reviews .




           Additional resources to help you complete this step are available in the Performance Help & Tutorials
           area of the Talent Development system, including retail scorecard and rating guidelines.
              Job !\id: Team Membe r Self Review



           If you have any questions, please contact MyH RConnection at 1\1:yl·I_EConrn~ction@}gianteagle.corn.

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HIGHLY CONFIDENTIAL                                                                                                GE_TL00011882
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                                                                                                                                                                                                                                                                                                          Chg vs. P10                                                                    FYTD


                                        Total Pharmacy                                                               ~~ 72                                                                                                                                                                                                          0                                                        72%



                                                          Giant Eagle . , , _ ~                                                                                                                                                      72                                                                                            0                                                        72%


                                                                               ~i:~~~! -                                                                                                                                                   73                                                                                                                                               71%



                                                                                        COL ~ - .                                                                                                     67                                                                                                                       .,·~     -~                                                   74%


                                                                                                                                                                                                                                                                                                                                 ·ti                                                         75%
                                                                                       COD ~ " " ~                                                                                                                                                           76
                                                                                       POD ~                                                                                                                                  71                                                                                                 ·+·j                                                        70%



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                                                   : : : !~~(~ : : : : : ;~ : : : f4f~ : :J
                  \Pharmacy Team Member Knowledge                                                                                                                                                                             74%                                                                                    +3                                                                                    73%
                  :i·~t~;i~t·i~~·~ith . Ph·~;~i~1ii···· ·······································79~i·································~s···················· ··················7s;;i~··················:
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                             - Thanked                                                94%
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                  Cashier - Invited
                  :•
                                                                                                                                                                                                                              71 %                                                                                   +1                                                                                    71 %

                  :l9.~~F!i~:~::~:i:iiii~::::::: :::::::::::::::::::::: : : :::::: : : : ::::::: : ::: :::::~j:~;.~:::::: : : :::::: : : : ::::::: :::::§:::::: :::::: :::::: : : :::::: : : : :::::::~:~f;:: :::::::::::: ::J




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           * Speed and Ease of
               ··.•.•.•-·-·-·-•-•.•.•.•-·-•-•.•.•.•.•.•--·•-•.•.•.•.•.•.•-·-·-•-•.•.•-·-·-•-•.•.•.•.•.•.•.•


                                                                                                                                        67%                                                            0                                                66%                                                                             Time waiting in line
               Checkout

  "Insufficient data for analysis.
  Note: % Scores reported =% Highly Satisfied customers on each question.
                                                                                                                                                                                                                                                                                                                                                                             ---,i: Key Driver of Satisfaction
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         13
HIGHLY CONFIDENTIAL                                                                                                                                                                                                                                                                                                                                                                                                             GE_TL00011895
                                                                                                                                                                                                                                                                                                                                                                                                              P-HBC-00037.002
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                                                                                                                                               Customer Satisfaction Scorecard
                                                                                                                                                                     % Highly Satisfied Customers


                                                                                          PHARMACY SATISFACTION DRIVERS
                                                                                                                                                    MONTHLY TRENDS


                                                                          Friendliness                                                                                                                                                                                            Speed & Ease of Checkout
  80%      ·1-.........................................................................................................                                                                      70%                  .! ...........,,,,,,,, ............................................................................................
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       •   Il <:·=~=:::~~·~·"·~,,#/···· · ··················i::::~1                                                                                  ;.,..._nhn,n-.. n-..-.., -..n-..,,n,J
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                                                                                                                                                                                                                                             ~~'¾
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                                                                                                                                                                                                                                                                            ,. . ~❖,$
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                                                                                                                                                                                                                                                                                                     ....................................................................... . . ,,,......... ,,,......... ,,,....




  65% ~~ ....... !      ····-- ~ ....... ! . ........ ~ ...... !               ...... .    ~    . .. .. .,! ... ....          !   ·····1 ....... ! ......    ~   ...... ~                    550/4 -. :. . . . . . . . . . . . . . . . . . . . . . . ----~------ . . . . . . . . . ."), -.,-.,-.,-.,-.,-.,-.,~                      ...-..-..-..h•, ...-..h-.,-.,•      ~     • . ............... :      ................... . --~---------- _........................ _........................ .




                                                                              Cleanliness                                                                                                                                                                                           Time to Fill from Order
  80% ., ............................................................................................................                                                                        70%                ·r· ..····--····--····--···· --····--····--····--·· · --·· · --·· ···--····..····--·· ·--····--·· · --·· · --····· -
           l                                                                                                                                                                                                       .                           ::::::::
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  75%      1',· -"':''': ..,.....................................................................................................




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  )0%      1··<·.~.~:::?J1Z::'~··*'"";.;,?'..'.'~ . . .                                                                                                                                                            ~                                                         ~ '%                                                                                     s-'-"
                                                                                                                                                                                                                   ~                                                                         ~%.-                                                     :,,....... ~~
  65% .;....... , ..................... , ...... ....... , ............ , ....                                                         , ............. , .......                             55% . . :. . . . . . . . . . . . ,. . . . . . . . . . . . ,. . . . . . . . . . . . ,. . . . . . . . . . . , . . . ~......~..._~,~ . . . . .:· ·. . . . . . . . . . .. . . . . . . . . . . . . .. . . . . . . . . . . !c ................ , ~                .............   ~     .................. ~


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                                                                       TM Knowledge                                                                                                                                                                                                       Professionalism
  80% ·: ............................................................................................................




  Note: % Scores reported = % Highly Satisfied customers on each question.                                                                                                                                                                                                                                                                                                                                                                                                                14
HIGHLY CONFIDENTIAL                                                                                                                                                                                                                                                                                                                                                                                      GE_TL00011896
                                                                                                                                                                                                                                                                                                                                                                                                                   P-HBC-00037.002
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                                                                                                                                                                                                      RETAIL INDEX SCORECARD




                                P11 FY15                                                                                                           P9-P11                                                                                                   YTD F15                                                                                                  FY15 Goal




                      !MD                                                                 79%                +2                   78%                    ,1                  78% < 7H%*'"i
                      ;· .. .                             .. .. .. ... ... ... .. .. .. ... .. . .. . .. .. ... ... . ... .. .. ... .. . . .. . .. .. .. ... ... .. ... .. .. ... .. . .. . .. .. ... . i
                      IGE                                                                                                                78%                                                   +1                                          78%                                                         +1                                           78%                                             79%
                      r ··:::::::._._.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.:.::::::::::::::::::::::::::::::::::::::::::::::J

                      IPOD North                                                                                                         78%                                                      0                                        77%                                                         +1                                           77%                                             82%                                 i
                      .                               ·-·-······································                                                                                                                                                                                                         ....................·.······················ ··························································
                                                                                                                                                                                                                                                                                                                                                                                                                                        :
                      !PooEast                                                                                                           76%                                                   +3 ·. ·                                     76%                                                         +2                      .                    75%                                             77%<· )
                                                                                                                                                                                                                                                                                                                                                                                                                                        ::

                      iErie & Youngstown                                                                                                 81%                                                   +5                                          78%                                                            0                                         79%                                             77%*··i
                      :                                                                                                                                                                                                                                                                                                                                                                                                                     .
                      ::··············································································································································································································································································································································································::······:::::::·······:::·i ·.·.·.\

                      iPODSouth                                                                                              > 76%                                                              -1                             / 76%                                                                   +h                                           76%                                             76%*'.i
                      :ca~··~~~·~········· ······ · ········· ····~;·~;~······· · · ·······;;········ ········;;~;~······· · · ······ ·····~·~······ ············~1·~/o... . . ...... . ;~·;/o*-il
                                                                                                                                                                                                                                                                                                                                                          ······································· ~
                                                                                                                                                                                                                                           78% ..                                                         o·                                        78% >••

                       \COL & Canton                                                                                                     74%                                                    -6                                         79%                                                            0                                         80%                                             82%                                 i




                                                                                                                                                                                                                                                                                                                                                                 '* '"Reaching FY15 Goal level




  Retail Index is a composi te score of store controlled measures including TM Knowledge, Friendliness, Professionalism, Time to fill
  Speed and Ease of Checkout, Cleanliness, Cashier GreeVThank/lnvite Back .
  Note: % Scores reported =% Highly Satisfied customers on each question.                                                                                                                                                                                                                                                                                                                                                                       15
HIGHLY CONFIDENTIAL                                                                                                                                                                                                                                                                                                                                                                                            GE_TL00011897
                                                                                                                         P-HBC-00037.004
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                                  FYlS Retail Pharmacy Performance Rating Guidelines




     GOAL 1: Improve Team Member Safety

     METRIC:
             a) Meet DART (days away restricted time) Incident target of [insert Rx target]

      RATING       GUIDELINE

         5         Zero DART Incidents

         4

         3         1 DART Incident

         2

         1         5+ DART Incidents




     GOAL 2: Improve Customer Safety

     METRIC:
             a)   Eliminate quality policy violations (i.e. med/sel, look/listen, fridge/mix)
             b)   100% compliance with quarterly CQI meetings, incident follow-ups, PIPs and Action Plans
             c)   Reduce Ingestion Rate by 5% over last year (store specific)
             d)   Reduce total incidents by 10% over last year (RPh) (store specific) (or better than company average)


      RATING       GUIDELINE

         5         4 out of 4; significantly exceeds rate/incident targets

         4         4 out of 4

         3         3 out of 4

         2         2 out of 4

         1         1 out of 4




                                                                                                                         Page 1 of 10




HIGHLY CONFIDENTIAL                                                                                                      GE_TL00011916
                                                                                                              P-HBC-00037.004
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     GOAL 7: Increase Operating Profit

     METRIC: Achieve Actual vs. Budget Operating Profit (DBLP / Net Operating Profit) [insert store target]

       RATING      TSR GUIDELINE BY%

          5        10% better than budget

          4        5% better than budget

          3        Meet budget to 4.99%

          2        Miss budget

          1




     GOAL 8: Increase Sales

     METRIC: Achieve Sales$ Target of [insert store target]

       RATING      GUIDELINE

          5        10% better than budget

          4        5% better than budget

          3        Meet budget to 4.99%

          2        Miss budget

          1




     GOAL 9: Increase Script Volume

     METRIC: Achieve Script Volume of [insert store target to budget]

       RATING      GUIDELINE

          5        10% better than budget

          4        5% better than budget

          3        Meet budget to 4.99%

          2        Miss budget

                                                                                                              Page 4 of 10




HIGHLY CONFIDENTIAL                                                                                           GE_TL00011919
